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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

LISA R. RESPRESS,                    :
                                     :
      Plaintiff,                     :
                                     :
vs.                                  :   CIVIL ACTION 05-0141-M
                                     :
JO ANNE B. BARNHART,                 :
Commissioner of                      :
Social Security,                     :
                                     :
      Defendant.                     :


                                JUDGMENT


      It is ORDERED, ADJUDGED, and DECREED that Plaintiff's

Motion for Award of Attorney’s Fees Pursuant to the Equal

Access to Justice Act be and is hereby GRANTED, without

objection, and that Plaintiff's attorney, Gilbert B. Laden, be

and is hereby AWARDED an EAJA attorney's fee in the amount of

$1,662.50.   No costs are taxed.

      DONE this 28th day of November, 2005.

                                  s/BERT W. MILLING, JR.
                                  UNITED STATES MAGISTRATE JUDGE
